10/13/22, 10:12 AM                                                Gmail - Stay of Search Warrant



                                                                                          William Most <williammost@gmail.com>



  Stay of Search Warrant
  William Most <williammost@gmail.com>                                                                Mon, Jan 27, 2020 at 1:42 PM
  To: danny@martinylaw.com
  Cc: Mary Howell <maryhowell316@gmail.com>, Amanda Hass <amanda.hass@gmail.com>

    Danny,

    Thanks again for talking with me yesterday. I tried to reach John Fitzpactrick, but wound up only reaching him after court.

    Just to keep you in the loop - we filed our motion this morning. The Court issued a stay of the warrant and a preservation
    order, and set it for a February 6th hearing. A copy is attached.

    Please let me know if you have any questions.

    Thank you!

    William Most
    Law Office of William Most
    (504) 509-5023
    williammost@gmail.com

         2020.1.27 - Order Staying Execution of Search Warrant.pdf
         1282K




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